Case 4:22-cv-
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Plaintiffs Name Kevia) B. Prasad
Prisoner No. (22242

Institutional Address Wq4v ve Cotlecnonl
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Bepwood Coty, Cte AU OLE

 

 

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

bevin B. pus ad Case No.
(Enter your full name) (Provided by the clerk upon filing)

SAN Mpreo COUNTY
COMPLAINT BY A PRISONER

= DINE, CARO UNDER THE CIVIL RIGHTS ACT,
Dave pine, Capore (rneoi 42, US.C. § 1983 .

» Hoesel =N Slocum
David +. CANEPA

(Enterthe full name(s) of all defendants in this action)

 

 

 

J. Exhaustion of Administrative Remedies.
You must exhaust available administrative remedies before your claim can go forward. The court will dismiss any
unexhausted claims.
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ood rt Cd 14065

A. Place of present confinement sTiect_|
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B. Is there a grievance procedure in this institution?

C. Ifso, did you present the facts in your complaint for review through

YES 0 NO .
mber and the date and result of the appeal at each

D. If your answer is YES, list the appeal nu
level of review. If you did not pursue any available level of appeal, explain why. .

1. Informal appeal:

 

 

 

the grievance procedure?

 

2. First formal level:

 

 

 

 

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3, Second formal level:

 

 

 

4. Third formal level:

 

E. Is the last level to which you appealed the highest level of appeal available to you?

0 YES 1 NO
F, Ifyou did not present your claim for review through the grievance procedure, explai

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Il. Parties.

A. If there are additional plaintiffs besides you,
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n why.

write their name(s) and present address(es).
Sepe rate
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B. For each defendant, provide full name, official position and place of employment.

SAN MATEO COUNT be OF SUELONI SORE
Dave PvE , Carcole Gircem , Den ‘Hhoesely
WEEN Slocwm | Davia CANEPA

COUNTY (rovernmunt Center Piesr Picot Poot
Ag COLNTY CENTER Redwood City. CA UW4OLS

III. Statement of Claim.

State briefly the facts of your case. Be sure to describe how each defendant is involved and to
include dates, when possible. Do not give any legal arguments or cite any cases or statutes. If you
have more than one claim, each claim should be set forth in a separate numbered paragraph.

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IV. Relief.

Your complaint must include a request for specific relief. State briefly exactly what you want

the court to do for you. Do not make legal arguments and do not cite any cases or statutes.
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Awd Appostyrent OF Counsel 26 U.S 1415 ©) Prawn Request

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Date Signature of Plaintiff

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